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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,
                                                 Case No. 25-mc-16(___/___)
             Plaintiff,

      v.                                    STIPULATION TO EXTEND
                                                TIME TO COMMENCE
$15,823.00 IN U.S. CURRENCY,                  JUDICIAL FORFEITURE
                                                     PROCEEDINGS
             Defendant,

      and

JAKE BRINKHAUS SPOLAR, and
NATASHA MUSSENDEN SPOLAR,

             Claimants.

      The Plaintiff and the Claimants stipulate, pursuant to 18 U.S.C.

§ 983(a)(3)(A), to extend the time in which the Plaintiff is required to file a

Complaint for Forfeiture or to obtain an Indictment alleging forfeiture until

October 3, 2024.

      1.     On November 20, 2024, members of the West Metro Drug Task

Force (“WMDTF”) and the U.S. Drug Enforcement Administration (“DEA”)

executed a search and seizure warrant at a residence in Maple Grove, MN.

      2.     The search included the seizure of various controlled substances

and approximately $15,823.00 in U.S. Currency (“the Defendant Currency”).
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      3.      DEA commenced administrative forfeiture proceedings for the

Defendant Currency and sent written notice to all known interested parties of

its intent to forfeit the currency.

      4.      On February 14, 2025, the Claimants’ attorney, Craig Cascarano,

filed claims for the Defendant Currency on their behalf.

      5.      The time has expired for any other person to file a claim for the

Defendant Currency under 18 U.S.C. § 983(a)(2)(A)-(E), and no other claims

for any portion of the currency have been received from any other individual

or entity.

      6.      Under 18 U.S.C. § 983(a)(3)(A), the government has 90 days after

a claim has been filed in an administrative action to bring a civil complaint for

forfeiture, “except that a court in the district in which the complaint will be

filed may extend the period for filing a complaint for good cause shown or upon

agreement of the parties.” The current deadline is May 15, 2025.

      7.      The parties to this agreement request additional time so they can

discuss potential settlement, and so they can allow related a related state court

case to proceed and to determine its implications with respect to the Defendant

Currency.

      8.      The parties agree to extend the deadline under 18 U.S.C.

§ 983(a)(3) for filing a judicial forfeiture proceeding with respect to the




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Defendant Currency for a period of 90 days, until and including August 15,

2025, in order to discuss a potential resolution of the case.

Dated: 4/10/2025                            LISA D. KIRKPATRICK
                                            Acting United States Attorney

                                            s/Craig Baune
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Date: 3/13/2025                             CASCARANO LAW OFFICE

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